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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION


U.S. EQUAL EMPLOYMENT                                §
OPPORTUNITY COMMISSION,                              §
                                                     §
         Plaintiff,                                  §
                                                     §        CIVIL ACTION NO. 3:17-CV-01582-N
v.                                                   §
                                                     §
ATLAS RESOURCES PARTNERS, L.P.,                      §
                                                     §
         Defendant.                                  §

                                        JOINT STATUS REPORT

         NOW COME Defendant Atlas Resources Partners, L.P.1 (“Atlas” or “Defendant”) and

Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”) (collectively the

“Parties”), and file their Joint Status Report pursuant to the Court’s Order filed on August 16,

2017.

                                                   SECTION I

         a.        a brief statement of the nature of the case and the contentions of the parties;

         Plaintiff’s brief statement:

         EEOC alleges that Defendant discriminated against William Hutto by subjecting him to

different terms and condition of employment and terminating him because of his age. Hutto was

52 years-old at the time of his termination by Defendant. Hutto began working for Defendant on

April 30, 2012. During Mr. Hutto’s employment with Defendant, Hutto’s supervisor, Production

Superintendent Tyler Yelverton, made age-related comments at the worksite. EEOC also alleges


1
  Atlas Resources Partners, L.P. declared bankruptcy on September 1, 2016, was dissolved on September 9, 2016
and did not employ William Hutto. Rather, he was employed by Atlas Energy Group, LLC. (“AEG”). For purposes
of this Joint Report, “Atlas” will refer to both Atlas Resources Partners, L.P. and Atlas Energy Group, LLC.


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that Defendant subjected Hutto to terms and conditions of employment, including the assignment

of work routes, that were different than younger workers. EEOC alleges that on January 9, 2014,

Defendant terminated Hutto from his position of Production Foreman because of his age.

         Defendant’s brief statement:

         Contrary to Plaintiff’s assertions, Atlas did not discriminate against former employee

William Hutto because of his age or engage in any unlawful activities. Mr. Hutto’s employment

was terminated for legitimate, non-discriminatory reasons: He had ongoing performance issues

that he failed to correct despite verbal and written counseling. Defendant denies all liability

associated with Plaintiff’s claim of age discrimination, and disputes Plaintiff’s entitlement to

injunctive relief and costs incurred by filing this lawsuit.

         b.        the status of settlement discussions (excluding any discussions of amounts);

         The Parties have agreed to early mediation of this matter, which is scheduled for October

24, 2017.

         c.        possible joinder of additional parties;

         At this time the Parties do not anticipate the joinder of any additional parties.

         d.        any anticipated challenges to jurisdiction or venue;

         None.

         e.        date by which the case will be ready for trial and estimated length of trial;

         The Parties request a trial date of either October 15, 2018 or October 22, 2018. The

Parties estimate the trial will be approximately 3-5 days.

         f.        the desirability of ADR, and the timing for ADR; and

         The Parties have agreed to mediate this matter on October 24, 2017 with mediator Cecilia

Morgan at JAMS mediators in Dallas.



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         g.        any objections to disclosure under Rule 26(a)(1).

         None.

                                            SECTION II

         In accordance with Federal Rule of Civil Procedure 26(f), the Parties make the following

disclosures:

A.       What changes should be made in the timing, form, or requirement for disclosures
         under Rule 26(a), including a statement of when initial disclosures were made or
         will be made.

         The Parties agree and will make all disclosures required by Rule 26(a) on or before

September 29, 2017.

B.       The subjects on which discovery may be needed, when discovery should be
         completed, and whether discovery should be conducted in phases or be limited to or
         focused on particular issues;

         The Parties anticipate that discovery subjects may include: Plaintiff’s claims, including

Hutto’s employment with and discharge from Atlas and his alleged damages, Hutto’s

employment after Atlas and any subsequent earnings, Atlas’ defenses, and the Parties’

designated experts, if any.

C.       Any issues about disclosure, discovery, or preservation of electronically stored
         information, including the form or forms in which it should be produced.

         The Parties estimate that they will need at least nine months to complete discovery. The

Parties anticipate that a number of depositions will be required and that this case will likely entail

written discovery and several depositions. Thus, the Parties respectfully request at least nine

months for discovery.

         The Parties do not anticipate issues about disclosure or discovery of ESI. The Parties will

produce ESI in PDF form.




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D.       Any issues about claims of privilege or of protection as trial-preparation materials,
         including—if the parties agree on a procedure to assert these claims after
         production—whether to ask the court to include their agreement in an order under
         Federal Rule of Evidence 502.

         The Parties do not anticipate issues with respect to the production of privileged

documents or trial preparation materials. The Parties will comply with Rule 26(b)(5)(B) in the

event either party inadvertently produces information subject to a claim of privilege or protection

as trial-preparation material. The Parties anticipate that a protective order may be necessary in

this matter to protect personal and confidential information. The Parties will work together to

draft the agreed protective order, which may contain clawback provisions that address the

protection of privileged and otherwise protected documents.

E.       What changes should be made in the limitations on discovery imposed under these
         rules or by local rule, and what other limitations should be imposed.

         The Parties agree that discovery should be conducted in accordance with the Federal

Rules of Civil Procedure and any Scheduling Order entered in this case. The Parties do not wish

any changes to the discovery limitations already set forth in the Federal Rules of Civil procedure.

F.       Any other orders that the court should issue under Rule 26(c) or under Rule 16(b)
         and (c).

         The Parties anticipate that a protective order may be necessary in this case to protect

confidential information, as contemplated under Rule 26(c) of the Federal Rules of Civil

Procedure. The Parties will work together to draft the agreed protective order.




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Dated: September 8, 2017                 Respectfully submitted,


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